Case 1:22-cv-00638-JMB-PJG        ECF No. 1, PageID.1    Filed 07/12/22   Page 1 of 26




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

LISA ALLEN, MELISSA ARAI,
MARC BRANNON, KIRK BROWN,
STACEY BUC, NANCY CALLOW,
MARIE CHAPMAN, DAZHIA CHAVEZ,
TERESA DEMERELL, DEBRA DUVALL,
DAVID EDWARDS, DEBORAH FRY,
GINA GANGNIER, MOLLY GORNIEWICZ,                           Case No.
MICHELLE HAMILTON, CHRISTINE HASKIN,
DANA HATFIELD, KATHLEEN HAWLEY,                            Hon.
DIANE HICKOX, THOMAS HOWARD,
BREANNE HUNTER, MICHELE IGRAM,
ROSE IRISH, ROSEMARY JONES,
JARED KOPYDLOWSKI, CHERIE LACKOWSKI,
MARY LEMERISE, HEATHER LIPKOWITZ,
SHELBY MCPHERSON, SHANDA MIDDLETON,
RACHEL MOORE, LYNN MORRISON,
KAREN MUNSON, LUKE MYERS, CHERRIE NEES,
COLLEEN NITSCHKE, KATHLEEN NUGENT,
SCOTT OBERTEIN, RENEE OSTRANDER,
MICHELLE OWEN, JULIE POTERACKI,
CODY REED, MICHELLE ROSSIE,
DEBORAH ROSZATYCKI,
KAITLYN RUSSCHER, PETER SAGMOE,
JENNIFER SEALS, THERESA SHAW,
DAWN SPENCER, ANDREA STROBEL,
MARIA SYJUD, DOROTHY THOMPSON,
EMMY TUTTLE, ROBERT TWOREK,
KIMBERLY TYLENDA, CAMERON VANDER STEL,
SCOTT WALKER, LAURA WALTZ,
LISA WILCZAK, CINDIA WONG,
CHERYL ZABARONI, SARAH ZUZIAK,
on behalf of themselves and others similarly situated,

       Plaintiffs,

v.

ASCENSION MICHIGAN, ASCENSION PROVIDENCE,
ASCENSION BORGESS ALLEGAN HOSPITAL,
ASCENSION BORGESS HOSPITAL, ASCENSION
BORGESS-LEE HOSPITAL, ASCENSION BORGESS-PIPP
HOSPITAL, ASCENSION BRIGHTON CENTER FOR

                                             1
Case 1:22-cv-00638-JMB-PJG       ECF No. 1, PageID.2      Filed 07/12/22    Page 2 of 26




RECOVERY, ASCENSION GENESYS HOSPITAL,
ASCENSION MACOMB-OAKLAND HOSPITAL,
ASCENSION PROVIDENCE HOSPITAL,
ASCENSION PROVIDENCE ROCHESTER HOSPITAL,
ASCENSION RIVER DISTRICT HOSPITAL,
ASCENSION ST. JOHN HOSPITAL,
ASCENSION ST. JOSEPH HOSPITAL,
ASCENSION ST. MARY'S HOSPITAL, and
ASCENSION STANDISH HOSPITAL

      Defendants.

 Noah S. Hurwitz (P74063)
 Grant M. Vlahopoulos (P85633)
 Kara F. Krause (P85487)
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 jimmy@jimmythomaslaw.com

                         COMPLAINT AND JURY DEMAND

      NOW COME Plaintiffs Lisa Allen, Melissa Arai, Marc Brannon, Kirk Brown, Stacey Buc,

Nancy Callow, Marie Chapman, Dazhia Chavez, Teresa DeMerell, Debra Duvall, David Edwards,

Deborah Fry, Gina Gangnier, Molly Gorniewicz, Michelle Hamilton, Christine Haskin, Dana

Hatfield, Kathleen Hawley, Diane Hickox, Thomas Howard, Breanne Hunter, Michele Igram,

Rose Irish, Rosemary Jones, Jared Kopydlowski, Cherie Lackowski, Mary LeMerise, Heather

Lipkowitz, Shelby McPherson, Shanda Middleton, Rachel Moore, Lynn Morrison, Karen Munson,



                                           2
Case 1:22-cv-00638-JMB-PJG           ECF No. 1, PageID.3          Filed 07/12/22     Page 3 of 26




Luke Myers, Carrie Nees, Colleen Nitschke, Kathleen Nugent, Scott Obertein, Renee Ostrander,

Michelle Owen, Julie Poteracki, Cody Reed, Michelle Rossie, Deborah Roszatycki, Kaitlyn

Russcher, Peter Sagmoe, Jennifer Seals, Theresa Shaw, Dawn Spencer, Andrea Strobel, Maria

Myjud, Dorothy Thompson, Emmy Tuttle, Robert Tworek, Kimberly Tylenda, Cameron Vander

Stel, Scott Walker, Laura Waltz, Lisa Wilczak, Cindia Wong, Cheryl Zabaroni, and Sarah Zuziak

(“Plaintiffs” or “Class Representatives”), on behalf of themselves and others similarly situated, by

and through the undersigned attorneys, and state the following:

                                       INTRODUCTION

       1.      There is no pandemic exception to the protections afforded by Title VII of the Civil

Rights Act of 1964 (“Title VII”) and Michigan’s Elliott-Larsen Civil Rights Act (“ELCRA”).

Ascension Michigan, et al (“Defendants”) deliberately flouted both laws by blanketly denying

religious exemptions from its mandatory COVID-19 policy, telling employees that it would “not

grant exemptions, except under extreme circumstances.”          Consequently, over 500 hundred

healthcare workers who bravely served the public during the worst days of the pandemic were

placed on an involuntary, indefinite, unpaid leave of absence in November 2021. In December

2021, Defendants acknowledged the illegality of its actions and recalled the wrongfully disciplined

employees back to work due to “legal challenges” and “staffing challenges.”              However,

Defendants refuse to pay Plaintiffs backpay for the time period they were unlawfully denied wages.

Accordingly, this class action lawsuit seeks compensatory damages, punitive damages, and

reasonable attorney’s fees for all of Defendants’ employees who were temporarily denied a

religious accommodation from the COVID-19 vaccine and suspended without pay.

                          PARTIES, JURISDICTION, AND VENUE

       2.      Lisa Allen resides in Waterford, Michigan



                                                 3
Case 1:22-cv-00638-JMB-PJG       ECF No. 1, PageID.4        Filed 07/12/22    Page 4 of 26




      3.    Ms. Allen received a Right to Sue letter from the EEOC on June 1, 2022.

      4.    Melissa Arai resides in Livonia, Michigan.

      5.    Ms. Arai received a Right to Sue letter from the EEOC on June 8, 2022.

      6.    Marc Brannon resides in Davison, Michigan.

      7.    Mr. Brannon received a Right to Sue letter from the EEOC on June 28, 2022.

      8.    Kirk Brown resides in Fenton, Michigan.

      9.    Mr. Brown received a Right to Sue letter from the EEOC on June 28, 2022.

      10.   Stacey Buc resides in Warren, Michigan.

      11.   Ms. Buc received a Right to Sue letter from the EEOC on May 9, 2022.

      12.   Nancy Callow resides in Livonia, Michigan.

      13.   Ms. Callow received a Right to Sue letter from the EEOC on June 2, 2022.

      14.   Marie Chapman resides in Shelby Township, Michigan.

      15.   Ms. Chapman received a Right to Sue letter from the EEOC on May 25, 2022.

      16.   Dahzia Chavez resides in VanBuren Township, Michigan.

      17.   Ms. Chavez received a Right to Sue letter from the EEOC on April 26, 2022.

      18.   Teresa DeMerell resides in Portage, Michigan.

      19.   Ms. DeMerell received a Right to Sue letter from the EEOC on June 22, 2022.

      20.   Debra Duvall resides in Dryden, Michigan.

      21.   Ms. Duvall received a Right to Sue letter from the EEOC on June 28, 2022.

      22.   David Edwards resides in Grand Ledge, Michigan.

      23.   Mr. Edwards received a Right to Sue letter from the EEOC on May 25, 2022.

      24.   Deborah Fry resides in Gobles, Michigan.

      25.   Ms. Fry received a Right to Sue letter from the EEOC on June 6, 2022.



                                            4
Case 1:22-cv-00638-JMB-PJG       ECF No. 1, PageID.5           Filed 07/12/22   Page 5 of 26




      26.   Gina Gangnier resides in Brighton, Michigan.

      27.   Ms. Gangnier received a Right to Sue letter from the EEOC on May 4, 2022.

      28.   Molly Gorniewicz resides in Grand Rapids, Michigan.

      29.   Ms. Gorniewicz received a Right to Sue letter from the EEOC on June 28, 2022.

      30.   Michelle Hamilton resides in Grand Blanc, Michigan.

      31.   Ms. Hamilton received a Right to Sue letter from the EEOC on April 14, 2022.

      32.   Christine Haskin resides in Rochester, Michigan.

      33.   Ms. Haskin received a Right to Sue letter from the EEOC on June 9, 2022.

      34.   Dana Hatfield resides in Kalamazoo, Michigan.

      35.   Ms. Hatfield received a Right to Sue letter from the EEOC on May 4, 2022.

      36.   Kathleen Hawley resides in Fenton, Michigan.

      37.   Ms. Hawley received a Right to Sue letter from the EEOC on July 5, 2022.

      38.   Diane Hickox resides in Farmington, Michigan.

      39.   Ms. Hickox received a Right to Sue letter from the EEOC on May 10, 2022.

      40.   Thomas Howard resides in Kalamazoo, Michigan.

      41.   Mr. Howard received a Right to Sue letter from the EEOC on May 24, 2022.

      42.   Breanne Hunter resides in Byron, Michigan.

      43.   Ms. Hunter received a Right to Sue letter from the EEOC on June 10, 2022.

      44.   Michele Igram resides in Flint, Michigan.

      45.   Ms. Igram received a Right to Sue letter from the EEOC on April 28, 2022.

      46.   Rose Irish resides in Birch Run, Michigan.

      47.   Ms. Irish received a Right to Sue letter from the EEOC on June 8, 2022.

      48.   Rosemary Jones resides in Oxford, Michigan.



                                            5
Case 1:22-cv-00638-JMB-PJG       ECF No. 1, PageID.6          Filed 07/12/22   Page 6 of 26




      49.   Ms. Jones received a Right to Sue letter from the EEOC on June 2, 2022.

      50.   Jared Kopydlowski resides in Fenton, Michigan.

      51.   Mr. Kopydlowski received a Right to Sue letter from the EEOC on June 7, 2022.

      52.   Cherie Lackowski resides in Oakland Center Township, Michigan.

      53.   Ms. Lackowski received a Right to Sue letter from the EEOC on June 7, 2022.

      54.   Mary LeMerise resides in Canton, Michigan.

      55.   Ms. LeMerise received a Right to Sue letter from the EEOC on June 23, 2022.

      56.   Heather Lipkowitz resides in Davison, Michigan.

      57.   Ms. Lipkowitz received a Right to Sue letter from the EEOC on May 16, 2022.

      58.   Shelby McPherson resides in Flushing, Michigan.

      59.   Ms. McPherson received a Right to Sue letter from the EEOC on May 16, 2022.

      60.   Shanda Middleton resides in Marcellus, Michigan.

      61.   Ms. Middleton received a Right to Sue letter from the EEOC on May 27, 2022.

      62.   Rachel Moore resides in Ortonville, Michigan.

      63.   Ms. Moore received a Right to Sue letter from the EEOC on June 2, 2022.

      64.   Lynn Morrison resides in Kalamazoo, Michigan.

      65.   Ms. Morrison received a Right to Sue letter from the EEOC on June 6, 2022.

      66.   Karen Munson resides in Frankenmuth, Michigan.

      67.   Ms. Munson received a Right to Sue letter from the EEOC on June 16, 2022.

      68.   Luke Myers resides in Kalamazoo, Michigan.

      69.   Mr. Myers received a Right to Sue letter from the EEOC on June 6, 2022.

      70.   Carrie Nees resides in Holly, Michigan.

      71.   Ms. Nees received a Right to Sue letter from the EEOC on June 22, 2022.



                                            6
Case 1:22-cv-00638-JMB-PJG        ECF No. 1, PageID.7         Filed 07/12/22   Page 7 of 26




      72.   Colleen Nitschke resides in Fort Gratiot, Michigan.

      73.   Ms. Nitschke received a Right to Sue letter from the EEOC on July 5, 2022.

      74.   Kathleen Nugent resides in Algonac, Michigan.

      75.   Ms. Nugent received a Right to Sue letter from the EEOC on June 28, 2022.

      76.   Scott Obertein resides in Pinconning, Michigan.

      77.   Mr. Obertein received a Right to Sue letter from the EEOC on May 12, 2022.

      78.   Renee Ostrander resides in Armada, Michigan.

      79.   Ms. Ostrander received a Right to Sue letter from the EEOC on May 25, 2022.

      80.   Michelle Owen resides in Mattawan, Michigan.

      81.   Ms. Owen received a Right to Sue letter from the EEOC on June 30, 2022.

      82.   Julie Poteracki resides in Saint Clair Shores, Michigan.

      83.   Ms. Poteracki received a Right to Sue letter from the EEOC on June 7, 2022.

      84.   Cody Reed resides in Vicksburg, Michigan.

      85.   Mr. Reed received a Right to Sue letter from the EEOC on April 28, 2022.

      86.   Michelle Rossie resides in Grand Blanc, Michigan.

      87.   Ms. Rossie received a Right to Sue letter from the EEOC on June 24, 2022.

      88.   Deborah Roszatycki resides in Essexville, Michigan.

      89.   Ms. Roszatycki received a Right to Sue letter from the EEOC on May 17, 2022.

      90.   Kaitlyn Russcher resides in Hamilton, Michigan.

      91.   Ms. Russcher received a Right to Sue letter from the EEOC on May 17, 2022.

      92.   Peter Sagmoe resides in Holland, Michigan.

      93.   Mr. Sagmoe received a Right to Sue letter from the EEOC on April 28, 2022.

      94.   Jennifer Seals resides in Paw Paw, Michigan.



                                             7
Case 1:22-cv-00638-JMB-PJG        ECF No. 1, PageID.8         Filed 07/12/22    Page 8 of 26




      95.    Ms. Seals received a Right to Sue letter from the EEOC on June 16, 2022.

      96.    Theresa Shaw resides in Flint, Michigan.

      97.    Ms. Shaw received a Right to Sue letter from the EEOC on June 1, 2022.

      98.    Dawn Spencer resides in Lapeer, Michigan.

      99.    Ms. Spencer received a Right to Sue letter from the EEOC on June 6, 2022.

      100.   Andrea Strobel resides in Leonard, Michigan.

      101.   Ms. Strobel received a Right to Sue letter from the EEOC on June 1, 2022.

      102.   Maria Syjud resides in Shelby Township, Michigan.

      103.   Ms. Syjud received a Right to Sue letter from the EEOC on June 5, 2022.

      104.   Dorothy Thompson resides in Flint, Michigan.

      105.   Ms. Thompson received a Right to Sue letter from the EEOC on May 16, 2022.

      106.   Emmy Tuttle resides in Rochester Hills, Michigan.

      107.   Ms. Tuttle received a Right to Sue letter from the EEOC on June 1, 2022.

      108.   Robert Tworek resides in Livonia, Michigan.

      109.   Mr. Tworek received a Right to Sue letter from the EEOC on May 27, 2022.

      110.   Kimberly Tylenda resides in Goodrich, Michigan.

      111.   Ms. Tylenda received a Right to Sue letter from the EEOC on April 22, 2022.

      112.   Cameron Vander Stel resides in Grand Rapids, Michigan.

      113.   Mr. Vander Stel received a Right to Sue letter from the EEOC on May 10, 2022.

      114.   Scott Walker resides in South Haven, Michigan.

      115.   Mr. Walker received a Right to Sue letter from the EEOC on May 31, 2022.

      116.   Laura Waltz resides in Pinckney, Michigan.

      117.   Ms. Waltz received a Right to Sue letter from the EEOC on June 6, 2022.



                                             8
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.9         Filed 07/12/22      Page 9 of 26




       118.    Lisa Wilczak resides in Holly, Michigan.

       119.    Ms. Wilczak received a Right to Sue letter from the EEOC on April 20, 2022.

       120.    Cindia Wong resides in Livonia, Michigan.

       121.    Ms. Wong received a Right to Sue letter from the EEOC on June 28, 2022.

       122.    Cheryl Zabaroni resides in Romeo, Michigan.

       123.    Ms. Zabaroni received a Right to Sue letter from the EEOC on April 20, 2022.

       124.    Sarah Zuziak resides in Mount Clemens, Michigan.

       125.    Ms. Zuziak received a Right to Sue letter from the EEOC on June 23, 2022.

       126.    Defendant Ascension Michigan is a domestic nonprofit corporation that operates

fifteen (15) hospitals and employs 20,000 people in Michigan and has a resident agent in East

Lansing, Michigan.

       127.    The Western District of Michigan has jurisdiction over the Title VII of the Civil

Rights Act of 1964 (“Title VII”) claims pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction

over the Elliott-Larsen Civil Rights Act (“ELCRA”) claims pursuant to 28 U.S.C. § 1367.

       128.    Venue is proper in the Western District of Michigan pursuant to 28 U.S.C. §

1391(b)(1) because it is the judicial district in which Defendant operates its businesses.

       129.    The “single-filing” rule allows plaintiffs to “piggyback” onto the timely and valid

charge of a named plaintiff with the U.S. Equal Employment Opportunity Commission (EEOC).

Calloway v. Partners National Health Plans, 986 F.2d 446, 450 (11th Cir. 1993). Plaintiffs have

all received a Notice of Right to Sue from the U.S. Equal Employment Opportunity Commission

(“EEOC”) within the past 90 days.




                                                 9
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.10        Filed 07/12/22       Page 10 of 26




                                    FACTUAL ALLEGATIONS

                                Defendant’s Mandatory Vaccine Policy

        130.    On July 27, 2021, Defendants announced a COVID-19 vaccine mandate for all

 employees, without regard to level of patient interaction.

        131.    Defendant utilized a “portal” for handling religious accommodation requests

 wherein employees were made to provide information to assist it in determining which employees

 were sufficiently religious.

        132.    Employees applying for accommodation were instructed to write a “description of

 how use of this vaccination is a violation of your moral conscience,” and their descriptions were

 “not to exceed 4,000 characters.” The portal contained a check box stating: “I understand that

 should I fail to be vaccinated or granted exemption on or before 5:00 pm on November 12, 2021,

 I will be suspended . . . Continued failure to comply will be deemed voluntary resignation.”

        133.    Defendants did not require independent contractors, vendors, temporary staff,

 patients, visitors, or any other individuals on Defendants’ premises to be vaccinated.

        134.    The last day for employees to be vaccinated was November 12, 2021:

        135.    Defendants’ policy stated:

                Ascension will require that all associates be vaccinated against
                COVID-19, whether or not they provide direct patient care, and
                whether they work in our sites of care or remotely . . . In those
                instances when someone may not be able to get vaccinated due to a
                medical condition or strongly held religious belief, Ascension will
                provide its associates a process for requesting an exemption similar
                to the process we use for the annual influenza vaccine.

        136.    Initially after introducing the COVID-19 vaccine mandate, Defendants granted

 both religious and medical accommodation to the first employees that applied for the same.




                                                 10
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.11           Filed 07/12/22        Page 11 of 26




        137.    However, Defendants then switched course and violated its own policy by

 implementing a blanket prohibition on COVID-19 vaccine accommodation.

        138.    Employees protested the vaccine mandate en masse.

        139.    The Secretary of Health and Human Services issued an interim final rule on

 November 5, 2021 that hospitals must “ensure that staff are fully vaccinated for COVID-19.” 86

 Fed. Reg. 61568 (2021).

        140.    Defendant asserts it relied on this November 5, 2021 rule in enforcing the vaccine

 mandate, even though the rule was issued fifteen (15) weeks after Defendants announced the

 vaccine mandate.

        141.    “The [interim final] rule requires providers to offer medical and religious

 exemptions.” Biden v. Missouri, 142 S. Ct. 647, 651 (Jan. 13, 2022). The interim final rule states:

                In implementing the COVID-19 vaccination policies and procedures
                required by this IFC, however, employers must comply with
                applicable Federal anti-discrimination laws and civil rights
                protections . . . In other words, employers following . . . the new
                requirements . . . may also be required to provide appropriate
                accommodations . . . for employees who request and receive
                exemption from vaccination because of a sincerely held religious
                belief, practice, or observance . . . Under Federal law, including . . .
                Title VII of the Civil Rights Act of 1964 . . . workers who cannot be
                vaccinated or tested because of . . . sincerely held religious beliefs,
                practice, or observance may in some circumstances be granted an
                exemption from their employer . . . Employers must also follow
                Federal laws protecting employees from retaliation for requesting
                an exemption on account of religious belief.

 86 Fed. Reg. 61569, 61572 (2021).

        142.    The federal vaccine mandate was never intended to apply to remote employees or

 contractors: “Facilities that employ or contract for services by staff who telework full-time (that is,

 100 percent of their time is remote from sites of patient care, and remote from staff who do work




                                                   11
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.12           Filed 07/12/22      Page 12 of 26




 at sites of care) should identify and monitor these individuals . . . but those individuals need not be

 subject to the vaccination requirements.” Id. at 61571 (emphasis added).

        143.    Defendants’ practices directly contravene the rule it purportedly relied on.

        144.    Defendants actively coerced employees to abandon their religious convictions.

        145.    Employees who were denied religious accommodation to the vaccine mandate were

 forced into the horrible position of choosing between vaccination or unpaid suspension.

        146.    “Forcing individuals to choose between their faith and their livelihood imposes an

 obvious and substantial burden on religion . . . vaccine mandates . . . presents a crisis of conscience

 for many people of faith. It forces them to choose between the two most profound obligations they

 will ever assume—holding true to their religious commitments and feeding and housing their

 children. To many, this is the most horrifying of Hobson’s choices.” Sambrano v. United Airlines,

 Inc., 19 F.4th 839, 841 (5th Cir. 2021).

                          Plaintiffs’ Religious Accommodation Requests

        147.    Plaintiffs submitted religious accommodations requests before the deadline.

        148.    Their requests for accommodation were denied in emails that were three (3)

 sentences in length: “Your request for a religious exemption . . . has been denied.”

        149.    Plaintiffs were given seven (7) days to “add information.”

        150.    Plaintiffs were told that failure to “add information” before the arbitrary deadline

 would result in the decision becoming final.

        151.    Plaintiffs all worked safely and successfully for Defendants prior to the vaccine

 mandate.

        152.    There are a host of reasonable accommodations that Defendants failed to consider.

        153.    Plaintiffs could have tested daily to confirm whether they were not ill.



                                                   12
Case 1:22-cv-00638-JMB-PJG           ECF No. 1, PageID.13          Filed 07/12/22        Page 13 of 26




        154.    Plaintiffs could have engaged in frequent sanitizing and disinfecting.

        155.    Plaintiffs could have worn gloves and respirators in the workplace.

        156.    Plaintiffs could have transferred to more solitary positions.

        157.    Defendants made employees work in-person throughout the pandemic. Before any

 vaccine was developed, the following safety measures were deemed sufficiently effective to

 protect employees, patients, and their loved ones: daily testing, enhanced sanitation measures,

 including handwashing and disinfecting, gloves and respirators, and social distancing whenever

 practicable.

        158.    Examples of reasonable accommodations include wearing a mask, working “at a

 social distance” from others, working a modified shift, getting tested, and being given the

 opportunity to telework. U.S. EQUAL EMPL. OPPORTUNITY COMM’N, What You Should Know About

 COVID-19 and the ADA, the Rehabilitation Act, and Other EEO Laws (May 28, 2021).

        159.    “If the employer denies the employee’s proposed accommodation, the employer

 should explain to the employee why the preferred accommodation is not being granted.” Id.

        160.    Defendants did not explain to Plaintiffs why accommodation could not be granted.

        161.    Generally, the sincerity of an employee’s religious beliefs “is not open to question.”

 United States v Seeger, 380 U.S. 163, 185 (1965). Title VII’s statutory definition of “religion”

 includes “all aspects of religious observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

        162.    Defendants’ religious animus is evidenced by the fact that, while it refused to

 accommodate employees who rejected the vaccine on religious grounds, it readily accommodated

 employees who sought medical exemptions to the COVID-19 vaccine, including pregnant

 employees.




                                                  13
Case 1:22-cv-00638-JMB-PJG           ECF No. 1, PageID.14         Filed 07/12/22      Page 14 of 26




        163.    Defendants’ religious animus is further evidenced by the fact that, while it refuses

 to accommodate employees who reject the vaccine on religious grounds, it did not require

 independent contractors, vendors, patients or their visitors to be vaccinated, even though they

 interact with Defendants’ staff and providers.

        164.    Defendants evaded any sort of “bilateral cooperation,” Ansonia Bd. of Educ. v.

 Philbrook, 479 U.S. 60, 69 (1986), when it granted a false “accommodation” of an unpaid leave

 of absence. “Bilateral cooperation is appropriate in the search for an acceptable reconciliation of

 the needs of the employee’s religion and the exigencies of the employer’s business.” Id.

        165.    Defendants’ accommodation process was arbitrary and inconsistent.

        166.    Members of the Putative Class were told by management that Defendants would

 not grant any religious accommodations.

        167.    Defendants granted some accommodation requests based on pure favoritism.

        168.    Defendants unnecessarily shared the private health information of Plaintiffs with

 coworkers.

        169.    Defendants did not explore available reasonable accommodations from the vaccine.

        170.    Plaintiffs were placed on unpaid suspensions on November 12, 2021.

        171.    Plaintiffs were gradually recalled to work beginning approximately five (5) weeks

 later due to “legal challenges” and “staffing challenges.”

        172.    Plaintiffs were told the following over the telephone: “The reason that we are

 contacting you is to let you know the vaccine suspension that you were placed on has been recalled

 and they are asking you to return to work.”




                                                  14
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.15          Filed 07/12/22       Page 15 of 26




        173.    Inexplicably, many employees who were denied religious accommodations were

 not recalled to work. Defendants instead used the religious accommodation denials as a method

 to reduce headcount in some departments.

        174.    Many employees who had been suspended were told that their positions had been

 filled during their absence and were told they could only apply for new jobs.

        175.    Defendants refused to provide unlawfully suspended employees with back pay.

                    Defendant Did Not Base Its Decision on Undue Hardship,
                           Nor Could It Establish Undue Hardship

        176.    The prohibition against religious discrimination imposes a “duty” on employers to

 accommodate sincere religious beliefs, absent “undue hardship.” Trans World Airlines, Inc. v.

 Hardison, 432 U.S. 63, 74 (1977).

        177.    The employer, not the employee, bears the burden of showing “that it is unable to

 reasonably accommodate the employee’s religious beliefs without incurring undue hardship.”

 McDaniel v. Essex Intern., Inc., 571 F.2d 338, 341 (6th Cir.1978).

        178.    An employer does not satisfy its burden of proving undue hardship “merely by

 showing that an accommodation would be bothersome to administer or disruptive of the operating

 routine.” Draper v. United States Pipe & Foundry Co., 527 F.2d 515, 520 (6th Cir.1975). The

 operative word is “undue,” meaning that “something greater” than a mere hardship is required. Id.

        179.    Defendant cannot satisfy its burden of proving undue hardship.

        180.    Defendant, without citing any scientific evidence, alleges that unvaccinated

 employees pose a substantial “risk of infection or death to hospital patients, staff, and visitors.”

        181.    Defendant’s allegations are based in religious animus rather than science.

        182.    Defendant cannot allege undue hardship when some of its employees, including

 pregnant employees, were granted medical accommodations to the vaccine mandate.

                                                  15
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.16         Filed 07/12/22      Page 16 of 26




        183.    Defendant cannot allege undue hardship when it began recalling unvaccinated

 employees approximately five (5) weeks after initially suspending them, meaning that any undue

 hardship must have seemingly disappeared for no apparent reason in the meantime.

        184.    Plaintiffs were not requesting a license to roam about uninhibited without sanitizing

 or wearing any personal protective equipment (“PPE”), as though no health threat existed.

        185.    Plaintiffs were more than willing to comply with all safety protocols.

        186.    Defendant’s allegations of undue hardship lack scientific backing and, in fact,

 directly contravene scientific evidence supporting the effectiveness of practices such as

 handwashing and wearing respirators in preventing infection and death. Stella Talic et al.,

 Effectiveness of public health measures in reducing the incidence of covid-19, SARS-CoV-2

 transmission, and covid-19 mortality: systematic review and meta-analysis, BRIT. MED. J (2021).

        187.    Plaintiffs had been engaging in these alternative practices, which had been deemed

 effective throughout the pandemic for approximately eighteen (18) months before the mandate.

                                    CLASS ACTION ALLEGATIONS

        188.    Plaintiffs asserts claims on behalf of the “Putative Class,” defined as follows:

                Class: All employees of Defendants who were denied a religious
                exemption from the COVID-19 vaccine and either suspended
                without pay or forced to resign.

        189.    Numerosity. The Putative Class is so numerous that joinder of all Class members

 is impracticable. Upon information and belief, in excess of five hundred of Defendants’ employees

 satisfy the definition of the Putative Classes.

        190.    Typicality. Plaintiffs’ claims are typical of the members of the Putative Class. For

 all members of the Putative Class, Defendants did not conduct an individualized assessment of the

 religious accommodation requests submitted. Instead, Defendants imposed a policy blanketly



                                                   16
Case 1:22-cv-00638-JMB-PJG           ECF No. 1, PageID.17          Filed 07/12/22      Page 17 of 26




 denying all religious accommodation requests and then suspended members of the Putative Class

 without pay. The legal violations suffered by the Plaintiffs are typical to those suffered by other

 Putative Class members, and Defendants treated Plaintiffs consistent with other Putative Class

 members in accordance with its standard policies and practices.

         191.   Adequacy. Plaintiffs are adequate representatives of the Putative Class. Plaintiffs’

 interests are aligned with, and are not antagonistic to, the interests of the members of the Putative

 Class. Plaintiffs have retained counsel competent and experienced in complex class action

 litigation.

         192.   Commonality. Common questions of law and fact exist as to all members of the

 Putative Class and predominate over any questions solely affecting individual members of the

 Putative Class, including but not limited to:

                a.      Whether Defendants imposed a blanket policy denying religious

                        accommodations to the COVID-19 vaccine to all employees;

                b.      Whether Defendants violated Title VII and ELCRA by failing to consider

                        whether members of the Putative Class had sincerely held religious beliefs;

                c.      Whether Defendants violated Title VII and ELCRA by failing to consider

                        whether there were reasonable accommodations for members of the

                        Putative Class that would not pose an undue burden on Defendants.

                d.      Whether Defendants suspended members of the Putative Class.

                e.      Whether Defendants reversed the religious accommodation denials and

                        recalled members of the Putative Class back to work;

                f.      The proper measure of statutory and punitive damages; and

                g.      The proper form of declaratory relief.



                                                  17
Case 1:22-cv-00638-JMB-PJG             ECF No. 1, PageID.18          Filed 07/12/22       Page 18 of 26




         193.    This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(1) because

 prosecution of actions by or against individual members of the Putative Classes would result in

 inconsistent or varying adjudications and create the risk of incompatible standards of conduct for

 Defendants. Further, adjudication of each individual Class member’s claim as a separate action

 would potentially be dispositive of the interest of other individuals not a part to such action,

 impeding their ability to protect their interests.

         194.    This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because

 Defendants acted or refused to act on grounds that apply generally to the Putative Classes, so that

 relief is appropriate respecting the Class as a whole.

         195.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

 questions of law and fact common to the Putative Class predominate over any questions affecting

 only individual members of the Putative Class, and because a class action is superior to other

 available methods of the fair and efficient adjudication of this litigation. Defendants’ conduct

 described in this Complaint stems from common and uniform policies and practices, resulting in

 common violations of Title VII and ELCRA. Members of the Putative Class do not have an

 interest in pursuing separate actions against Defendants, as the amount of each Class member’s

 individual claims is small compared to the expense and burden of individual prosecution, and

 Plaintiffs are unaware of any similar claims brought against Defendants by any members of the

 Putative Class on an individual basis. Class certification will also obviate the need for unduly

 duplicative litigation that might result in inconsistent judgments concerning Defendants’ practices.

 Moreover, management of this action as a class action will not present any likely difficulties. In

 the interests of justice and judicial efficiency, it would be desirable to concentrate the litigation of

 all Putative Class members’ claims in a single forum.



                                                      18
Case 1:22-cv-00638-JMB-PJG           ECF No. 1, PageID.19           Filed 07/12/22       Page 19 of 26




        196.    Plaintiffs intend to send notice to all members of the Putative Classes to the extent

 required by Rule 23. The names and addresses of the Putative Class members are available from

 Defendants’ records.

                                  COUNT I
                VIOLATION OF TITLE VII, 42 U.S.C. § 2000e, et seq.
           RELIGIOUS DISCRIMINATION–FAILURE TO ACCOMMODATE
          ON BEHALF OF PLAINTIFFS AND OTHERS SIMILARLY SITUATED

        197.    Plaintiffs restate the foregoing paragraphs as set forth fully herein.

        198.    Title VII prohibits an employer from discriminating against an employee “because

 of such individual’s . . . religion.” 42 U.S.C. § 2000e-2(a)(1). Title VII’s definition of “religion”

 includes “all aspects of religious observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

        199.    Plaintiffs can establish prima facie cases of discrimination by showing (1) they hold

 sincere religious beliefs that conflict with an employment requirement; (2) they informed their

 employer of same; and (3) they were disciplined for failing to comply with the employment

 requirement.” Yeager v. FirstEnergy Generation Corp, 777 F.3d 362, 363 (6th Cir. 2015).

        200.    Plaintiffs hold sincere religious beliefs that conflict with the vaccine mandate.

        201.    Plaintiffs informed their employer of same.

        202.    Plaintiffs were disciplined for failing to comply with the vaccine mandate.

        203.    Defendants evaded any sort of “bilateral cooperation,” Ansonia Bd. of Educ. v.

 Philbrook, 479 U.S. 60, 69 (1986), when it granted a false “accommodation” of an unpaid leave

 of absence, which is not an accommodation at all. Defendants have thereby violated the law.

        204.    Multiple reasonable accommodations could have been offered without undue

 hardship, including sanitizing, disinfecting, handwashing, respirator-wearing, and testing.

        205.    Defendants never explained why they could not be accommodated.

        206.    Defendants never explained why no accommodations could have worked.

                                                  19
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.20          Filed 07/12/22       Page 20 of 26




        207.    Plaintiffs have suffered emotional and physical distress, mental and physical

 anguish, loss of reputation, humiliation, embarrassment, and the physical effects associated

 therewith because of the denial of their requests, and they will so suffer in the future.

        208.    Plaintiffs have been denied employment and placed in financial distress and they

 have suffered a loss of earnings and benefits, loss of health insurance coverage, and a loss of and

 impairment of their earning capacity and ability to work because of the denial of their request.

        209.    Plaintiffs have been required to employ the services of an attorney as a result.

        210.    Defendants’ actions were intentional and/or reckless.

        211.    Involuntary, indefinite unpaid leave is not a religious accommodation.

                                 COUNT II
                VIOLATION OF TITLE VII, 42 U.S.C. § 2000e, et seq.
                 RELIGIOUS DISCRIMINATION–RETALIATION
          ON BEHALF OF PLAINTIFFS AND OTHERS SIMILARLY SITUATED

        212.    Plaintiffs restate the foregoing paragraphs as set forth fully herein.

        213.    It is unlawful for an employer to retaliate against employees who communicate

 about employment discrimination or request accommodation for a religious practice.

        214.    Plaintiffs engaged in protected activity when they requested accommodations.

        215.    Defendants retaliated against them by suspending them on November 12, 2021.

        216.    Defendants’ threat of unpaid suspension was clearly intended to force employees

 to abandon their religious beliefs and receive the vaccine.

        217.    Plaintiffs have suffered emotional and physical distress, mental and physical

 anguish, loss of reputation, humiliation, embarrassment, and the physical effects associated

 therewith because of the unlawful retaliatory conduct, and she will so suffer in the future.




                                                  20
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.21          Filed 07/12/22       Page 21 of 26




        218.    Plaintiffs have been denied employment and placed in financial distress and she has

 suffered a loss of earnings and benefits, and a loss of and impairment of their earning capacity and

 ability to work because of the retaliatory conduct, and she will so suffer in the future.

        219.    Plaintiffs have been required to employ the services of an attorney as a result.

        220.    Defendants’ actions were intentional and/or reckless.

                                COUNT III
          VIOLATION OF ELLIOTT-LARSEN CIVIL RIGHTS ACT (“ELCRA”)
           RELIGIOUS DISCRIMINATION–FAILURE TO ACCOMMODATE
                       ON BEHALF OF ALL PLAINTIFFS

        221.    Plaintiffs restate the foregoing paragraphs as set forth fully herein.

        222.    Plaintiffs hold sincere religious beliefs that conflict with the vaccine mandate.

        223.    Plaintiffs informed their employer of same.

        224.    Plaintiffs were disciplined for failing to comply with the vaccine mandate.

        225.    Defendants evaded any sort of “bilateral cooperation,” Ansonia Bd. of Educ. v.

 Philbrook, 479 U.S. 60, 69 (1986), when it granted a false “accommodation” of an unpaid leave

 of absence, which is not an accommodation at all. Defendants therefore violated the law.

        226.    Multiple reasonable accommodations could have been offered without undue

 hardship, including sanitizing, disinfecting, handwashing, respirator-wearing, and testing.

        227.    Defendants never explained why they could not accommodate Plaintiffs.

        228.    Defendants never explained why no accommodations could have worked.

        229.    Plaintiffs have suffered emotional and physical distress, mental and physical

 anguish, loss of reputation, humiliation, embarrassment, and the physical effects associated

 therewith because of the denial of their requests, and they will so suffer in the future.




                                                  21
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.22          Filed 07/12/22       Page 22 of 26




        230.    Plaintiffs have been denied employment and placed in financial distress and they

 have suffered a loss of earnings and benefits, loss of health insurance coverage, and a loss of and

 impairment of their earning capacity and ability to work because of the denial of their request.

        231.    Plaintiffs have been required to employ the services of an attorney as a result.

        232.    Defendants’ actions were intentional and/or reckless.

        233.    Involuntary unpaid leave is not a religious accommodation.

                                   COUNT IV
                 VIOLATION OF ELLIOTT-LARSEN CIVIL RIGHTS ACT
                    RELIGIOUS DISCRIMINATION–RETALIATION
                         ON BEHALF OF ALL PLAINTIFFS

        234.    Plaintiffs restate the foregoing paragraphs as set forth fully herein.

        235.    It is unlawful for an employer to retaliate against employees who communicate

 about employment discrimination or request accommodation for a religious practice.

        236.    Plaintiffs engaged in protected activity when they requested accommodations.

        237.    Defendants retaliated against them by suspending them on November 12, 2021.

        238.    Defendants’ threat of unpaid suspension was clearly intended to force employees

 to abandon their religious beliefs and receive the vaccine.

        239.    Plaintiffs have suffered emotional and physical distress, mental and physical

 anguish, loss of reputation, humiliation, embarrassment, and the physical effects associated

 therewith because of the unlawful retaliatory conduct, and she will so suffer in the future.

        240.    Plaintiffs have been denied employment and placed in financial distress and she has

 suffered a loss of earnings and benefits, and a loss of and impairment of their earning capacity and

 ability to work because of the retaliatory conduct, and she will so suffer in the future.

        241.    Plaintiffs have been required to employ the services of an attorney as a result.

        242.    Defendants’ actions were intentional and/or reckless.

                                                  22
Case 1:22-cv-00638-JMB-PJG          ECF No. 1, PageID.23            Filed 07/12/22    Page 23 of 26




                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request the following relief:

        a.     Compensatory damages for monetary and non-monetary loss;

        b.     Exemplary and punitive damages;

        c.     Prejudgment interest;

        d.     Reasonable attorney’s fees; and

        e.     Such other relief as in law or equity may pertain.

                                                      Respectfully Submitted,
                                                      HURWITZ LAW, PLLC

                                                      /s/ Noah S. Hurwitz
                                                      Noah Hurwitz (P74063)
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 Dated: July 12, 2022                                 noah@hurwitzlaw.com




                                                 23
Case 1:22-cv-00638-JMB-PJG        ECF No. 1, PageID.24    Filed 07/12/22   Page 24 of 26




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 LISA ALLEN, MELISSA ARAI,
 MARC BRANNON, KIRK BROWN,
 STACEY BUC, NANCY CALLOW,
 MARIE CHAPMAN, DAZHIA CHAVEZ,
 TERESA DEMERELL, DEBRA DUVALL,
 DAVID EDWARDS, DEBORAH FRY,
 GINA GANGNIER, MOLLY GORNIEWICZ,                           Case No.
 MICHELLE HAMILTON, CHRISTINE HASKIN,
 DANA HATFIELD, KATHLEEN HAWLEY,                            Hon.
 DIANE HICKOX, THOMAS HOWARD,
 BREANNE HUNTER, MICHELE IGRAM,
 ROSE IRISH, ROSEMARY JONES,
 JARED KOPYDLOWSKI, CHERIE LACKOWSKI,
 MARY LEMERISE, HEATHER LIPKOWITZ,
 SHELBY MCPHERSON, SHANDA MIDDLETON,
 RACHEL MOORE, LYNN MORRISON,
 KAREN MUNSON, LUKE MYERS, CHERRIE NEES,
 COLLEEN NITSCHKE, KATHLEEN NUGENT,
 SCOTT OBERTEIN, RENEE OSTRANDER,
 MICHELLE OWEN, JULIE POTERACKI,
 CODY REED, MICHELLE ROSSIE,
 DEBORAH ROSZATYCKI,
 KAITLYN RUSSCHER, PETER SAGMOE,
 JENNIFER SEALS, THERESA SHAW,
 DAWN SPENCER, ANDREA STROBEL,
 MARIA SYJUD, DOROTHY THOMPSON,
 EMMY TUTTLE, ROBERT TWOREK,
 KIMBERLY TYLENDA, CAMERON VANDER STEL,
 SCOTT WALKER, LAURA WALTZ,
 LISA WILCZAK, CINDIA WONG,
 CHERYL ZABARONI, SARAH ZUZIAK,
 on behalf of themselves and others similarly situated,

        Plaintiffs,

 v.

 ASCENSION MICHIGAN, ASCENSION PROVIDENCE,
 ASCENSION BORGESS ALLEGAN HOSPITAL,
 ASCENSION BORGESS HOSPITAL, ASCENSION
 BORGESS-LEE HOSPITAL, ASCENSION BORGESS-PIPP
 HOSPITAL, ASCENSION BRIGHTON CENTER FOR

                                             24
Case 1:22-cv-00638-JMB-PJG        ECF No. 1, PageID.25     Filed 07/12/22    Page 25 of 26




 RECOVERY, ASCENSION GENESYS HOSPITAL,
 ASCENSION MACOMB-OAKLAND HOSPITAL,
 ASCENSION PROVIDENCE HOSPITAL,
 ASCENSION PROVIDENCE ROCHESTER HOSPITAL,
 ASCENSION RIVER DISTRICT HOSPITAL,
 ASCENSION ST. JOHN HOSPITAL,
 ASCENSION ST. JOSEPH HOSPITAL,
 ASCENSION ST. MARY'S HOSPITAL, and
 ASCENSION STANDISH HOSPITAL

       Defendants.

  Noah S. Hurwitz (P74063)
  Grant M. Vlahopoulos (P85633)
  Kara F. Krause (P85487)
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                            DEMAND FOR TRIAL BY JURY

       Plaintiffs Lisa Allen, Melissa Arai, Marc Brannon, Kirk Brown, Stacey Buc, Nancy

 Callow, Marie Chapman, Dazhia Chavez, Teresa DeMerell, Debra Duvall, David Edwards,

 Deborah Fry, Gina Gangnier, Molly Gorniewicz, Michelle Hamilton, Christine Haskin, Dana

 Hatfield, Kathleen Hawley, Diane Hickox, Thomas Howard, Breanne Hunter, Michele Igram,

 Rose Irish, Rosemary Jones, Jared Kopydlowski, Cherie Lackowski, Mary LeMerise, Heather

 Lipkowitz, Shelby McPherson, Shanda Middleton, Rachel Moore, Lynn Morrison, Karen Munson,



                                            25
Case 1:22-cv-00638-JMB-PJG            ECF No. 1, PageID.26         Filed 07/12/22   Page 26 of 26




 Luke Myers, Carrie Nees, Colleen Nitschke, Kathleen Nugent, Scott Obertein, Renee Ostrander,

 Michelle Owen, Julie Poteracki, Cody Reed, Michelle Rossie, Deborah Roszatycki, Kaitlyn

 Russcher, Peter Sagmoe, Jennifer Seals, Theresa Shaw, Dawn Spencer, Andrea Strobel, Maria

 Myjud, Dorothy Thompson, Emmy Tuttle, Robert Tworek, Kimberly Tylenda, Cameron Vander

 Stel, Scott Walker, Laura Waltz, Lisa Wilczak, Cindia Wong, Cheryl Zabaroni, and Sarah Zuziak

 (“Plaintiffs” or “Class Representatives”), by and through their attorneys Hurwitz Law, PLLC,

 hereby demand a trial by jury, for all issues so triable.

                                                        Respectfully Submitted,
                                                        HURWITZ LAW, PLLC

                                                        /s/ Noah S. Hurwitz
                                                        Noah Hurwitz (P74063)
                                                        Attorney for Plaintiffs

 Dated: July 12, 2022




                                                   26
